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                                                UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF TEXAS
                                                     WICHITA FALLS DIVISION

   IN RE:                                                                  §
                                                                           §
   HIGH PLAINS RADIO NETWORK, LLC,                                         §   CASE NO. 24-70089-swe
                                                                           §     (Chapter 11, SubV)
                 DEBTOR.                                                   §
                                                                           §

              ORDER GRANTING MOTION OF DEBTOR TO REJECT ALL LEASES
              WITH VERTICAL BRIDGE REIT LLC (RE: DOCKET NO. 67)

              On this day came on for consideration the Motion to Reject All Leases with Vertical

Bridge REIT LLC (Docket No. 67) (the “Motion to Reject”) filed herein on April 30, 2024 by

High Plains Radio Network, LLC. The Court finds and concludes that the Motion contained the

appropriate notices under the Bankruptcy Local Rules; according to the certificate of service

attached to the Motion, the Motion was served upon the parties entitled to receive notice under

the Bankruptcy Local Rules; no party in interest filed a response or objection to the Motion or




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any such response or objection is overruled by this Order; and that upon review of the record of

this case and with respect to the Motion that cause exists to grant the relief requested therein.

IT IS THEREFORE ORDERED THAT:

       1. The Motion is granted as set forth herein.

       2. All capitalized terms shall have the same meaning as ascribed to such terms in the
          Motion, unless otherwise defined herein.

       3. All of the leases and/or executory contracts between the Debtor and Vertical Bridge
          REIT LLC are rejected effective as of the Petition Date.

       4. Vertical Bridge REIT LLC is not entitled to any administrative expense or rent claim.

                                                                    ###END OF ORDER###



Submitted by:

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PROPOSED ATTORNEYS FOR
DEBTORS AND DEBTORS IN POSSESSION




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